Kazerouni Law Group, APC

Costa Mesa, California

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Candida Wolcott

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CANDIDA WOLCOTT, Case No.: 5:14-CV-00780
Individually and Qn Behalf of All
Others Similarly Situated, CLASS ACTION

Plaintiff, NOTICE OF SETTLEMENT

Vv.
NISSAN MOTOR
ACCEPTANCE
| CORPORATION,
Defendant.

 

 

NOTICE IS HEREBY GIVEN that this case has been settled in its entirety
on an individual basis. Plaintiff CANDIDA WOLCOTT (“Plaintiff”) anticipates
filing a Voluntary Dismissal of the Action with prejudice as to Plaintiff, and
|] without prejudice as to the putative class, within 60 days. Plaintiff requests that all
| Pending dates and filing requirements be vacated and that the Court set a deadline

on or after July 14, 2014 for filing a Voluntary Dismissal.

 

NOTICE OF SETTLEMENT;
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Dated: May 14, 2014

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Respectfully submitted,
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BY: /s/ ASSAL ASSASSI
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ATTORNEYS FOR PLAINTIFF

 

NOTICE OF SETTLEMENT
Case No.: 5:14-CV-00780

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